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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                   CASE NO: 0:24-cv-62080-MD

 JAMELL M. DEMONS

         Petitioner

 v.

 GREGORY TONY, SHERIFF OF BROWARD COUNTY;
 AND BROWARD COUNTY SHERIFF’S OFFICE

         Respondent.
                                                           /


      MOTION FOR ORDER TO SHOW CAUSE WHY PETITIONER SHOULD NOT BE
                               RELEASED


         Michael A. Pizzi, Jr., attorney for Petitioner, JAMELL M. DEMONS, respectfully moves

 this Honorable Court to issue an order requiring the Respondents to show cause why the Petitioner

 should not be released from custody. In support of this motion, the undersigned states as follows:

      1. On November 2, 2024, Petitioner filed a Petition for Writ of Habeas Corpus pursuant to 28

         U.S.C. § 2241, challenging the legality of his detention and seeking release from custody.

      2. Petitioner argues that his detention is unlawful because he has not been permitted to make

         or receive phone calls, or in person or any type of visitation with his family, including his

         own mother for three years.

      3. The Respondents have placed unreasonable restrictions and interfered with the ability of

         his attorneys to interact with him. This has included forcing his attorneys to wait for hours

         to see him, not letting them see him at all, and forcing them to meet with him in conditions

         that interfere with and impede the privacy and privileged nature of his communications


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       with his lawyers.

    4. The Respondents have isolated the Petitioner and not permitted a single phone call or visit

       from family in over three years.

    5. The Respondents have illegally and improperly violated Petitioner’s Constitutional

       guaranteed Right to Counsel and his ability to prepare for trial. These actions have been

       carried out with no due process and bearing no relational relationship to any legitimate

       State interest. Thus, he is being illegally detained in violation of the Constitution of the

       United States.

    6. The Petitioner is being illegally detained under conditions that are cruel and unusual and

       that not only bare no rational relationship to any legitimate state interest but violates the

       Petitioner’s Rights to due process and equal protection.

    7. Petitioner respectfully submits that his continued detention is unlawful and unjustified, and

       that immediate release is warranted based on the merits of the petition. As the Respondents

       are currently holding the Petitioner in custody, Petitioner requests that the Court issue an

       order to show cause and schedule a hearing as soon as possible to determine whether the

       Petitioner should be released from custody pending the outcome of the petition.

    8. In light of the serious nature of Petitioner’s claims and the immediate relief sought,

       Petitioner respectfully requests that the Court issue an order requiring the Respondents to

       show cause why the Petitioner should not be released from custody while this habeas

       corpus petition is being adjudicated.

    9. Courts routinely issue orders to show cause in habeas cases when a petitioner seeks

       immediate release from unlawful detention, and the petitioner has raised serious questions

       about the legality of his detention. Based on the foregoing, Petitioner respectfully requests



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        that the Court: Issue an Order to Show Cause directing the Respondents to appear and show

        cause why the Petitioner should not be released from custody.


    WHEREFORE, the Petitioner respectfully requests that the Court grant this Motion and issue

 an order requiring the Respondent to show cause why the Petitioner should not be released from

 custody.




                                                         Respectfully submitted,

                                                         MICHAEL A. PIZZI, JR., ESQ.
                                                         Florida Bar No 079545
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                                                         Miami Lakes, Florida 33014
                                                         Phone: (786) 594-3948
                                                         E-mail: mpizzi@pizzilaw.com

                                                         By: /s/ Michael A. Pizzi, Jr.
                                                         MICHAEL A. PIZZI, JR., ESQ.



                                    CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that on November 15, 2024, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
  is being served this day on all counsel of record or pro se parties either via transmission of Notices
  of Electronic Filing generated by CM/ECF or in some other authorized manner for those
  counselor parties who are not authorized to receive electronically Notices of Electronic Filing.



                                                         By: /s/ Michael A. Pizzi, Jr.
                                                         MICHAEL A. PIZZI, JR., ESQ.




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